Case 1:16-mc-02636-AMD   Document 24-1 Filed 06/07/18   Page 1 of 51 PageID #:
                                   3676




                 EXHIBIT A
Case 1:16-mc-02636-AMD       Document 24-1 Filed 06/07/18                   Page 2 of 51 PageID #:
                                       3677




                                     NO.       14-676


            In the Supreme Court of the United States

                        LORIENTON N.A. PALMER,
                    FREDERICK MARTIN OBERLANDER,
                                                                   Petitioners,
                                               v.

           JOHN DOE 98-CR-01101, UNITED STATES OF AMERICA,
                                              Respondents.


                    On Petition for a Writ of Certiorari to the
              United States Court of Appeals for the Second Circuit


               PETITION FOR A WRIT OF CERTIORARI
                   AND VOLUME 1 OF APPENDIX


                                   Richard E. Lerner
                                   Counsel of Record
                                   The Law Office of Richard E. Lerner, P.C.
                                   1375 Broadway, 3rd Floor
                                   New York, New York 10018
                                   Phone: 917.584.4864
                                   Fax: 347.824.2006
                                   richardlerner@msn.com

                                   Counsel for Petitioners




               Becker Gallagher · Cincinnati, OH · Washington, D.C. · 800.890.5001
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18         Page 3 of 51 PageID #:
                                    3678




                                         i

                         QUESTIONS PRESENTED
             1. Despite this Court’s holdings that the public has a
             first amendment right to access criminal trials, the
             Second Circuit uses a cooperator exception to allow
             closure without proof of necessity, the mere fact of
             cooperation sufficient. Does this violate the
             constitution?
             2. In a circuit conflict, the Second Circuit uses this
             cooperator exception to allow blanket sealing of cases
             without individual particularized reviewable findings,
             while the Fourth Circuit has held blanket sealing
             unconstitutional. May a court seal entire cases and
             everything filed in them without particularized
             findings?
             3. The Second Circuit uses this cooperator exception to
             defy victim rights and mandatory sentencing laws,
             letting convicted cooperator–defendants evade
             restitution by holding the fact of their cooperation
             justifies not telling victims of the case, yet claiming
             their secret sentencings are really public, which if true
             requires victim notification. Does this violate the
             constitution?
             4. The Second Circuit uses this cooperator exception to
             defy the first amendment by letting courts enjoin third
             parties who learn of the secret case from telling
             anyone, even victims of ongoing crimes involved, even
             Congress, without evidentiary hearings or findings, or
             other due process. Does this violate the constitution?
             5. The Second Circuit upheld the district court’s
             rulings maintaining the sealing of documents by a non-
             precedential “summary order” it admitted violated its
             own precedents but applied nonetheless to this “special
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18         Page 4 of 51 PageID #:
                                    3679




                                         ii

             case.” Does a federal appellate court violate the
             constitution when it purports to issue non-precedential
             orders; that is, does Article III require appellate courts
             to give precedential value to all their decisions?
Case 1:16-mc-02636-AMD        Document 24-1 Filed 06/07/18                        Page 5 of 51 PageID #:
                                        3680




                                                  iii

                                TABLE OF CONTENTS
             QUESTIONS PRESENTED . . . . . . . . . . . . . . . . . . . i
             TABLE OF AUTHORITIES . . . . . . . . . . . . . . . . . . xi
             DECISIONS BELOW . . . . . . . . . . . . . . . . . . . . . . . . 1
             JURISDICTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
             CONSTITUTIONAL, STATUTORY, AND
             REGULATORY PROVISIONS INVOLVED . . . . . . 2
             STATEMENT OF THE CASE . . . . . . . . . . . . . . . . . 3
             I.      Everything Secret Degenerates – –
                     Especially the Administration of Justice . . . 3
             II.     The Boston U.S. Attorney’s and FBI Offices
                     Facilitated and Covered-Up the Crimes of
                     Racketeer Whitey Bulger Because He Was an
                     Informant . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
             III.    The Eastern District of New York U.S.
                     Attorney’s and FBI Offices Facilitated and
                     Covered-Up the Crimes of Racketeer Felix
                     Sater, a Respondent Here, Because He Was
                     a Cooperator – but Unlike the Bulger Case,
                     Here, the Federal Courts Knowingly Went
                     Along, Ultimately Causing $1B of Injury . . . 5
                     A. Sater’s 1990s racketeering and related
                        proceedings, 1998 to 2001, by which time
                        his conviction and cooperation had been
                        made public by the government, court, et
                        al . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
Case 1:16-mc-02636-AMD       Document 24-1 Filed 06/07/18                      Page 6 of 51 PageID #:
                                       3681




                                                iv

                    B. Sater’s all-new racketeering and related
                       proceedings while cooperating or
                       informing, from 2002 through 2009 . . . . 10
                    C. Sater’s sentencing in 2009 . . . . . . . . . . . 11
             IV.    Petitioner Oberlander Discovers the
                    Crimes and the Cover-Up and Sues to Stop
                    Them . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
             V.     Procedural History I . . . . . . . . . . . . . . . . . . . 20
             VI.    Procedural History II . . . . . . . . . . . . . . . . . . 25
             REASONS FOR GRANTING THE WRIT . . . . . . . 33
             I.     The Integrity of the Federal Court System
                    Depends on This Court’s Confirming That
                    Lower Courts May no More Defy Binding
                    Precedent or Wrongfully Infringe Upon
                    Fundamental Rights Than They May
                    Defy Mandatory Sentencing or Similar
                    Statutes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33
             II.    A lower federal court’s core “inherent power”
                    does not include the power to refuse to
                    impose the lawful sentences Congress
                    mandates, including restitution . . . . . . . . . . 34
             III.   Lower courts’ “inherent power” cannot
                    include the power to defy binding precedent;
                    moreover, the issuance of a purported non-
                    precedential “summary order” by a federal
                    appeals court, as the Second Circuit issuance
                    here, is unconstitutional . . . . . . . . . . . . . . . 36
Case 1:16-mc-02636-AMD        Document 24-1 Filed 06/07/18                        Page 7 of 51 PageID #:
                                        3682




                                                  v

             IV.     Lower courts’ “inherent power” cannot
                     include the power to wrongfully
                     infringe upon enumerated or unenumerated
                     rights . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 36
             CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . 37
             APPENDIX
             Appendix A            Summary Order in the United
                                   States Court of Appeals for the
                                   Second Circuit
                                   (June 5, 2014) . . . . . . . . . . . . . App. 1
             Appendix B            Order in the United States District
                                   Court, Eastern District of New York
                                   (May 17, 2013) . . . . . . . . . . . . App. 7
             Appendix C            Order in the United States District
                                   Court, Eastern District of New York
                                   (May 15, 2013) . . . . . . . . . . . App. 11
             Appendix D            Order in the United States District
                                   Court, Eastern District of New York
                                   (March 13, 2013) . . . . . . . . . . App. 15
             Appendix E            Transcript of Sentencing Before
                                   the Honorable I. Leo Glasser
                                   United States District Senior
                                   Judge in the United States District
                                   Court, Eastern District of New York
                                   (October 23, 2009) . . . . . . . . . App. 18
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18            Page 8 of 51 PageID #:
                                    3683




                                        vi

             Appendix F      Excerpts of Docket Entries
                             U.S. District Court Southern District
                             of New York (Foley Square)
                             Criminal Docket for Case #:
                             1:94-cr-00248-CSH-1 . . . . . . App. 40
             Appendix G      Constitutional, Statutory and
                             Regulatory Provisions . . . . . App. 43
             Appendix H      Letter from Jeffrey Lichtman to
                             Eric O. Corngold in No. 00 CR 196
                             (ILG)
                             (October 10, 2000) . . . . . . . . . App. 66
             Appendix I      Letter [Excerpt] from the U.S.
                             Department of Justice to Lawrence
                             Ray in No. 00-196 (ILG)
                             (November 20, 2001) . . . . . . . App. 68
             Appendix J      Transcript of Sentencing [Excerpt]
                             in the United States District Court
                             for the Eastern District of New
                             York in CR-98-1102
                             (February 5, 2004) . . . . . . . . App. 71
             Appendix K      Transcript of Proceedings [Excerpt]
                             in the United States District Court
                             for the Eastern District of New
                             York in 00-CR-1005 (NGG)
                             (June 20, 2006) . . . . . . . . . . . App. 78
             Appendix L      Transcript of Criminal Cause for
                             Sentencing [Excerpt] in the United
                             States District Court for the
                             Eastern District of New York in 04-
                             CR-234 (CBA)
                             (January 11, 2008) . . . . . . . . App. 81
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18            Page 9 of 51 PageID #:
                                    3684




                                        vii

             Appendix M      Transcript of Motion Hearing
                             [Excerpt] in the United States
                             District Court for the Eastern
                             District of New York in 98-CR-1101
                             (June 14, 2010) . . . . . . . . . . . App. 85
             Appendix N      Transcript of Oral Argument
                             [Excerpt] in the United States
                             District Court for the Eastern
                             District of New York in CV 98-1101
                             (July 20, 2010) . . . . . . . . . . . App. 88
             Appendix O      Letter from Morgan, Lewis &
                             Bockius LLP to Judge Glasser in
                             98 CR 1101 (ILG)
                             (August 12, 2010) . . . . . . . . App. 100
             Appendix P      Letter (with attachment) from
                             Morgan, Lewis & Bockius LLP to
                             Judge Glasser in 98 CR 1101 (ILG)
                             (August 12, 2010) . . . . . . . . App. 102
             Appendix Q      Amendment         to Stipulated
                             Standstill Order in the United
                             States District Court for the
                             Eastern District of New York in 98
                             CR 1101 (ILG)
                             (September 27, 2010) . . . . . App. 111
             Appendix R      Letter from Morgan, Lewis &
                             Bockius LLP to Judge Glasser in
                             98 CR 1101 (ILG)
                             (November 16, 2010) . . . . . . App. 114
Case 1:16-mc-02636-AMD     Document 24-1 Filed 06/07/18            Page 10 of 51 PageID #:
                                      3685




                                         viii

              Appendix S      Transcript of Proceedings [Excerpt]
                              in the United States District Court
                              for the Eastern District of New
                              York in 03cr833
                              (November 17, 2010) . . . . . . App. 116
              Appendix T      Brief for the United States
                              [Excerpt] in the United States
                              Court of Appeals for the Second
                              Circuit, No. 11-1957, United States
                              of America v. Gushlak
                              (May 8, 2012) . . . . . . . . . . . App. 124
              Appendix U      Letter from the U.S. Department of
                              Justice to Judge Glasser in No. 98
                              CR 1101 (ILG)
                              (November 23, 2010) . . . . . . App. 127
              Appendix V      Letter [Excerpt] from the U.S.
                              Department of Justice to Judge
                              Glasser in No. 98 CR 1101 (ILG)
                              (March 17, 2011) . . . . . . . . . App. 129
              Appendix W      Transcript of Proceedings [Excerpt]
                              in the United States District Court
                              for the Eastern District of New
                              York in 98-CR-1101
                              (April 1, 2011) . . . . . . . . . . . App. 133
              Appendix X      Letter [Excerpt] from Wilson,
                              Elser, Moskowitz, Edelman &
                              Dicker LLP to Judge Cogan in No.
                              98 CR 1101 (ILG)
                              (April 4, 2011) . . . . . . . . . . . App. 138
Case 1:16-mc-02636-AMD     Document 24-1 Filed 06/07/18            Page 11 of 51 PageID #:
                                      3686




                                         ix

              Appendix Y      Order in the United States District
                              Court for the Eastern District of
                              New York in 98-CR-1101
                              (April 4, 2011) . . . . . . . . . . . App. 147
              Appendix Z      Order in the United States District
                              Court for the Eastern District of
                              New York in 98-CR-1101
                              (January 26, 2012) . . . . . . . App. 149
              Appendix AA     Letter [Excerpt] from the U.S.
                              Department of Justice to Judge
                              Glasser in No. 98 CR 1101 (ILG)
                              (January 26, 2012) . . . . . . . App. 151
              Appendix AB     Order in the United States District
                              Court for the Eastern District of
                              New York in 98-CR-1101
                              (February 2, 2012) . . . . . . . App. 153
              Appendix AC     Letter from the Solicitor General to
                              the Supreme Court of the United
                              States
                              (March 19, 2013) . . . . . . . . . App. 155
              Appendix AD     Email from Todd Kaminsky
                              (March 28, 2013) . . . . . . . . . App. 157
              Appendix AE     Complaint [Excerpt] in the
                              Supreme Court of the State of New
                              York County of New York . App. 159
Case 1:16-mc-02636-AMD     Document 24-1 Filed 06/07/18               Page 12 of 51 PageID #:
                                      3687




                                            x

              Appendix AF       Movant John Doe’s Supplemental
                                Memorandum of Law in Further
                                Support of Permanent Injunction
                                [Excerpt] in the United States
                                District Court Eastern District of
                                New York . . . . . . . . . . . . . . App. 164
              Appendix AG       Public Records [Excerpt] in U.S. v.
                                Coppa 00-CR-196 (EDNY) . App. 168
              Appendix AH       The Scorpion and the Frog
                                [Excerpt] . . . . . . . . . . . . . . . App. 178

                               SEALED APPENDIX
              Appendix AI Memorandum and Order in the
                          United States District Court, Eastern
                          District of New York (filed under seal)
                          (March 14, 2013) . . . . . . . . . . . App. 184
              Appendix AJLetter [Excerpt] from Beys, Stein &
                         Mobargha LLP to Judge Cogan
                         (August 2, 2012) . . . . . . . . . . . . App. 203
              Appendix AK       Transcript [Excerpt] in the United
                                States Court of Appeals for the
                                Second Circuit
                                (February 14, 2011) . . . . . . App. 207
Case 1:16-mc-02636-AMD        Document 24-1 Filed 06/07/18                    Page 13 of 51 PageID #:
                                         3688




                                                 xi

                              TABLE OF AUTHORITIES
              CASES
              ACLU v. Holder,
                673 F.3d 245 (4th Cir. 2011) . . . . . . . . . . . . . . . 34
              Anastasoff v. United States,
                223 F.3d 898, vacated en banc,
                215 F.3d 1024 (8th Cir. 2000) . . . . . . . . . . . . . . 36
              Caperton v. AT Massey Coal Co., Inc.,
                556 U.S. 868 (2009) . . . . . . . . . . . . . . . . . . . . . . . 6
              Dolan v. United States,
                 103 S.Ct. 2553 (2010) . . . . . . . . . . . . . . . . . . . . . 35
              Ex Parte United States,
                 242 U.S. 27 (1916) . . . . . . . . . . . . . . . . . . . . . . . 34
              U.S. v. Alcantara,
                 396 F.3d 189 (2d Cir. 2005) . . . . . . . . . . . . . . . . 18
              U.S. v. Salemme,
                 91 F.Supp.2d 141 (D.Mass. 1999) . . . . . . . . . . . . 5
              Withrow v. Larkin,
                 421 U.S. 35 (1975) . . . . . . . . . . . . . . . . . . . . . . . . 6
              CONSTITUTION, STATUTES, AND
              REGULATIONS
              U.S. Const. Art. III . . . . . . . . . . . . . . . . . . . . . . . 2, 35
              U.S. Const. amend. I . . . . . . . . . . . . . 2, 18, 22, 29, 36
              U.S. Const. amend. VI . . . . . . . . . . . . . . . . . . . . . . . . 2
              18 U.S.C. § 1506 . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
              18 U.S.C. § 1964(d) . . . . . . . . . . . . . . . . . . . . . . . . . 14
Case 1:16-mc-02636-AMD        Document 24-1 Filed 06/07/18                    Page 14 of 51 PageID #:
                                         3689




                                                 xii

              18 U.S.C. § 3553(c) . . . . . . . . . . . . . . . . . . . . . . . 2, 18
              18 U.S.C. § 3663 . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
              18 U.S.C. § 3663A . . . . . . . . . . . . . . . . . . . . . . . . 2, 35
              18 U.S.C. § 3664 . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
              18 U.S.C. § 3771 . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
              18 U.S.C. § 3771(a) . . . . . . . . . . . . . . . . . . . . . . . . . 15
              18 U.S.C. § 3771(a)(2) . . . . . . . . . . . . . . . . . . . . . . . 18
              18 U.S.C. § 3771(b)(1) . . . . . . . . . . . . . . . . . . . . . . . 18
              18 U.S.C. § 3771(d) . . . . . . . . . . . . . . . . . . . . . . . . . 14
              28 U.S.C. § 1254(1) . . . . . . . . . . . . . . . . . . . . . . . . . . 1
              28 CFR § 45.10 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
              28 CFR § 50.09 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
              RULES
              Fed. R. Crim P. 32 . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
              Fed. R. Civ. P. 65(d) . . . . . . . . . . . . . . . . . . . . . . . . . 2
              OTHER AUTHORITIES
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18        Page 15 of 51 PageID #:
                                     3690




                                         1

                              DECISIONS BELOW
                  The Second Circuit published a Summary Order sub
              nom In re Applications to Unseal 98-cr-1101 (ILG), 568
              Fed.Appx. 68, 2014 U.S. App. LEXIS 10436 (June 5,
              2014) (App.1) The order of the district court from which
              the appeal was taken to the Second Circuit was issued
              on March 14, 2013 and possibly remains under seal, if
              it ever was lawfully sealed, though in any event certain
              information contained therein is public. The sealed
              order is submitted to this court in a separate sealed
              appendix. (App.AI at 184.)
                                JURISDICTION
                 This appeal is from a final decision and order of the
              Second Circuit Court of Appeals upholding an order of
              a district court in the Eastern District of New York
              which declined to “unseal” certain documents.
                 This Second Circuit order was entered on June 5,
              2014, and by order of this court on petitioners’ motion,
              the time to file this petition was enlarged to run
              through and including November 3, 2014.
                 Statutory jurisdiction lies in 28 U.S.C. § 1254(1).
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18          Page 16 of 51 PageID #:
                                     3691




                                         2

                  CONSTITUTIONAL, STATUTORY, AND
                 REGULATORY PROVISIONS INVOLVED
              U.S. Constitution, Article III
              U.S. Constitution, Amendment I
              U.S. Constitution, Amendment VI
              18 U.S.C. § 1506, “Theft or Alteration of Record or
              Process; False Bail”
              18 U.S.C. § 3553(c), “Imposition of a Sentence”
              18 U.S.C. § 3663, “Order of Restitution”
              18 U.S.C. § 3663A, “Mandatory Restitution to Victims
              of Certain Crimes”
              18 U.S.C. § 3664, “Procedure for Issuance and
              Enforcement of Order of Restitution”
              18 U.S.C. § 3771, “The Crime Victims’ Rights Act”
              Federal Rule of Criminal Procedure 32, “Sentencing
              and Judgment”
              Federal Rule of Civil Procedure 65(d), “Injunctions and
              Restraining Order”
              28 CFR § 45.10, “Procedures to Promote Compliance
              with Crime Victims’ Rights Obligations”
              28 CFR § 50.9, “Policy with Regard to Open Judicial
              Proceedings”
Case 1:16-mc-02636-AMD     Document 24-1 Filed 06/07/18         Page 17 of 51 PageID #:
                                      3692




                                          3

                         STATEMENT OF THE CASE
              I.     Everything Secret Degenerates – –
                     Especially the Administration of Justice
                  The United States Court of Appeals for the Second
              Circuit and district courts within, in active concert with
              United States Attorneys, have created an
              unconstitutional regime of secret criminal cases,
              falsified dockets, illegal sentences, and prior restraints
              in the name of “protecting” the safety of cooperators.
                  If this writ is granted, petitioners will ask this
              Court use its supervisory powers to stop this defiance
              of the Constitution and statutes, not only with respect
              to the inferior courts involved, but also with respect to
              the practice of law conducted before those courts by the
              United States. Prosecutorial discretion and inherent
              judicial power are extraordinary, but not infinite, and
              not immune to the guarantees of enumerated and
              unenumerated rights. Such discretion and power may
              not be exercised corruptly, and as they have for too
              long, they must be reined in by this Court.
                 Petitioners begin their explanation of the case by
              analogizing it to the only thing like it in modern
              history, the Whitey Bulger scandal in Boston.
              II.    The Boston U.S. Attorney’s and FBI Offices
                     Facilitated and Covered-Up the Crimes of
                     Racketeer Whitey Bulger Because He Was
                     an Informant
                 In the 1970s, the Boston FBI office recruited local
              mobster Whitey Bulger and others as informants,
              beginning an infamous quarter-century partnership in
              corruption wherein they gave the FBI information
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18        Page 18 of 51 PageID #:
                                     3693




                                         4

              about organized crime and in return the FBI ignored
              their crimes, even their murders; allowed innocents to
              be convicted in their place, and told them of witnesses
              who might testify against them so the informants could
              have them killed and maintain their cover.
                 The corruption lasted to 1994, when a corrupt FBI
              agent warned Bulger and others that they’d been
              indicted on racketeering charges and Bulger became a
              fugitive from justice for twenty years until captured.
                 In 2003, the House Committee on Government
              Reform released the report of its investigation into the
              scandal, Everything Secret Degenerates: The FBI Use of
              Murderers as Informants. Among its conclusions:
                 • The FBI perjured, and obstructed state and local
                   prosecutions, to help their informants.
                 • Persons as senior as the FBI Director knew.
                 • The FBI Office of Professional Responsibility
                   lied when it said no favors had been given the
                   informants and prevented the committee from
                   obtaining information that proved the lie.
                 • The U.S. Attorney committed perjury, and
                   admitted he’d been intimidated, threatened by
                   the FBI if he interfered with these informants.
                 • The DOJ impeded the committee by
                   withholding, editing, or claiming to have lost
                   papers.
                 • In response to suits filed by the victims of these
                   crimes, the DOJ used litigation tactics “contrary
                   to respect for the rule of law.”
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18        Page 19 of 51 PageID #:
                                     3694




                                         5

                                       *****
                 The August 19, 2014, headline in Time’s movie
              section, reviewing a documentary on the scandal, was,
              Who’s the Bigger Criminal, Whitey Bulger or the FBI?
                                       *****
                 Notably, the report says of federal judge Mark Wolf,
              whose landmark decision in U.S. v. Salemme, 91
              F.Supp.2d 141 (D.Mass. 1999), started the oversight
              process that led to the committee’s investigation, “He
              is owed a significant debt of gratitude by everyone
              devoted to law enforcement in a democratic society.”
              III.   The Eastern District of New York U.S.
                     Attorney’s and FBI Offices Facilitated and
                     Covered-Up the Crimes of Racketeer Felix
                     Sater, a Respondent Here, Because He Was
                     a Cooperator – but Unlike the Bulger Case,
                     Here, the Federal Courts Knowingly Went
                     Along, Ultimately Causing $1B of Injury
                 In this case, like Whitey Bulger, respondent Felix
              Sater, a career criminal and convicted racketeer,
              became a cooperating witness and an informant in the
              Eastern District of New York and in return was
              covertly, and illicitly, not only allowed to, but
              emboldened to, in fact facilitated in his efforts to,
              commit a billion dollars of continuing predicate crime
              during the ten years following his conviction.
                 And, like Bulger’s case, when one of the petitioners,
              an attorney representing victims of those crimes,
              discovered the corruption and sought to expose it to
              bring Sater and those complicit with him to justice, the
              Department of Justice did all it could, no matter how
Case 1:16-mc-02636-AMD      Document 24-1 Filed 06/07/18           Page 20 of 51 PageID #:
                                       3695




                                            6

              corrupt, to cover it up and silence him and his clients,
              actively working to prevent state, local, or private
              prosecution of Sater.
                  But there all further resemblance to Bulger ends, as
              there’s no Judge Wolf here. To the contrary, to use the
              politic language of Caperton1, the evidence would
              support the conclusion by an objective, well-informed
              observer to a constitutionally intolerable degree of
              confidence, that persons in the Department of Justice
              were aided and abetted in keeping its corruption secret
              by the collusion of Second Circuit district and appellate
              judges, themselves implicated ab initio because of the
              illegal concealment of Sater’s criminal case and the
              illegal sentence he received, judges who, in creating or
              upholding a cooperator exception to the constitution,
              repudiated their oaths and abused the contempt power
              to silence those who would tell the truth, falsified
              judicial records, fabricated evidence, refused to afford
              due process, and ultimately perpetrated direct fraud
              not only on the institution of the court but on this
              Court itself.
                     A. Sater’s 1990s racketeering and related
                        proceedings, 1998 to 2001, by which time
                        his conviction and cooperation had been
                        made public by the government, court,
                        et al.
                 Felix Sater has a long history of defrauding
              investors and partners in his business ventures. For

              1
                Caperton v. AT Massey Coal Co., Inc., 556 U.S. 868 (2009),
              quoting Withrow v. Larkin, 421 U.S. 35 (1975) (“probability of
              actual bias…[by]…judge…too high to be constitutionally
              tolerable”).
Case 1:16-mc-02636-AMD       Document 24-1 Filed 06/07/18               Page 21 of 51 PageID #:
                                        3696




                                               7

              example, in 1998 he pled guilty to racketeering for
              operating a “pump-and-dump” penny stock fraud in
              partnership with other Russian and La Cosa Nostra
              career criminals, bilking investors of at least
              $40,000,000.
                  That should have signaled the end of his business
              career and the possibility of restitution for the victims
              of his crimes. Not so. Because he agreed to cooperate,
              his entire criminal docket was not only “sealed,” but
              “super-sealed,” indeed illegally so, infra, leaving his
              victims and third parties unaware of his conviction.2
                 Apparently, from the time of his plea in 1998
              through the end of 2001, Sater cooperated in the
              investigation, arrest, and prosecution of his co-
              conspirators in the stock fraud.3
                 While petitioners don’t know the details of his
              cooperation (but take it on faith that there was at least
              some), one thing they do know, because it is a matter of
              public record, is that on and after March 2, 2000, by the
              deliberate action of the government, the fact of Sater’s
              conviction, and that of several of his co-conspirators
              who also agreed to cooperate, like Sal Lauria, became

              2
                This court’s Richmond line of cases, with which familiarity is
              assumed, all require procedural and substantive formality before
              a proceeding or document in a criminal case may lawfully be closed
              to public access. The judge in Sater’s criminal case stated on the
              record many times that he never signed a sealing order, (App.M at
              86-87), as is confirmed by the record, see U.S. v. Sater, 98-CR-1101
              (E.D.N.Y.) (Glasser, J.), as is the fact that no record findings
              capable of review to justify any such closure were made.
              3
               All relevant process in relation to his co-conspirators took place
              sub nom. U.S. v. Coppa, 00-CR-196 (E.D.N.Y.) (Glasser, J.).
Case 1:16-mc-02636-AMD       Document 24-1 Filed 06/07/18               Page 22 of 51 PageID #:
                                        3697




                                              8

              public property forever because Loretta Lynch, then
              E.D.N.Y. U.S. Attorneys, Lewis D. Schiliro, NYC FBI
              Assistant Director, Howard Safir, N.Y.P.D.
              Commissioner, issued a worldwide press release
              announcing the arrest of the Coppa defendants and
              disclosing that Sater, Lauria, et al. had already pled
              guilty to racketeering charges.4
                 Six months later, on September 13, 2000, the
              release was placed in the Congressional Record during
              House hearings, Organized Crime on Wall Street.
                 Arguably, there might be some debate whether the
              press release itself effectively revealed that Sater et al.
              were cooperating, for example given the fact that they’d
              already pled, but any ambiguity on that score went
              away within a year, because by 2001 the government,
              Coppa defense attorneys, and the presiding judge
              (Glasser, J.) had placed in the public files of the case,
              thus making it public property, any number of
              documents explicitly confirming Sater’s cooperation.5


              4
                The press release did travel around the world: “19 Charged in
              Stock Scheme Tied to Mob,” The New York Times, March 3, 2000;
              “40M Stock Scam 19 Said to Have Ties to U.S., Russian Mobs Are
              Charged,” The New York Daily News, March 2, 2000; “Borscht
              Boys & Goodfellas In $40M Stock Swindle: Feds,” The New York
              Post, March 6, 2000 ; “Mob Influence Hit on Wall Street,” CNN
              Moneyline News Hour, aired March 2, 2000; “19 Accused After
              $40M Stock Fraud,” The Manchester Guardian UK.
              5
               The public court files of the Coppa case, which have always been
              public (but which were hidden in the E.D.N.Y. for two years, infra)
              contain: (1) The government’s witness list for the Coppa proceeding
              against Daniel Persico, a captain in the Colombo crime family,
              showing Sater set to testify as a government witness; (2) a
              memorandum in support of Coppa defendant Lev’s request for
Case 1:16-mc-02636-AMD       Document 24-1 Filed 06/07/18               Page 23 of 51 PageID #:
                                        3698




                                               9

                 In short, by late 2001, anyone who cared to know,
              certainly including the Coppa defendants and their
              lawyers, knew Sater had pled and was cooperating, as
              the information was public property and publicly
              available – if you knew where to look.
                  Then why was there any legal basis to maintain the
              “sealing” (illegal concealment) of his entire criminal
              case (of course Sater had not yet been sentenced
              himself)? Petitioners do not know, for this point has
              never been answered despite their many times raising
              it throughout the years of litigation, but a good guess
              is that the FBI promised to do a favor for Sater after
              the 9/11 attacks, and making his criminal record
              disappear was the favor.6




              additional information on “cooperating witnesses” Sater and
              other(s); (3) An objection by Lev’s attorney, Jeffrey Lichtman, to
              information in Lev’s PSR about his “threat” against Sater (see
              next); (4) said PSR, discussing Lev’s threat; and excerpts from the
              website of Jeffrey Lichtman describing how he had Lev’s charges
              reduced from racketeering to harassing a government witness
              (Sater) by showing that said witness was committing crimes of
              fraud during his cooperation. (App.AG at 168-178).
              6
                In Lauria’s 2003 autobiography The Scorpion and the Frog, he
              says he and Sater were resigned to imprisonment because their
              attempt at freedom, buying Stinger missiles from Afghanistan, had
              failed, but that right after 9/11 Sater called him excitedly to tell
              him that they were now going to be the FBI’s new best friend
              because of Sater’s Middle East contacts and that in return the FBI
              would “suppress” Sater (and Lauria’s) connection to the Coppa case
              “as much as possible.” (App.AH at 182-183).
Case 1:16-mc-02636-AMD       Document 24-1 Filed 06/07/18               Page 24 of 51 PageID #:
                                        3699




                                             10

                      B. Sater’s all-new racketeering and related
                         proceedings while cooperating or
                         informing, from 2002 through 2009
                 During the ensuing years of his cooperating and
              informing, while not yet sentenced for the stock
              racketeering so supposedly subject to incarceration and
              revocation of his cooperation agreement if he
              committed crime, Sater took advantage of the secrecy
              by resuming his old tricks and defrauding new victims.
                  By 2002, he had infiltrated and largely controlled
              Bayrock, a New York developer with ties to organized
              crime, in the next several years using it to launder
              hundreds of millions, skim and extort millions more,
              and again swindle his investors and partners, for
              example fraudulently inducing banks to lend hundreds
              of millions to Bayrock by concealment fraud (hiding the
              material fact of his conviction from them), threatening
              to kill anyone at the firm he thought knew of the
              crimes committed there and might report it.7,8



              7
                At least three Bayrock persons, one former employee and two
              partners, have given sworn statements that Sater had threatened
              to kill them if they ever complained about or revealed anything
              Sater had been doing wrongfully at Bayrock.
              8
                It should be noted for the record that, while the Sater press
              release was written up and publicized widely, oddly enough his
              name was not used in any of that coverage, and so even to this day
              searching on his name will not find it, except in the Congressional
              record, where of course one would have to know to look in the first
              place. Similarly, while the public Coppa records were always
              available, one would have to think to look there. Thus, it’s
              understandable that many persons, including at Bayrock, would
              not know of his conviction, even though it was public property.
Case 1:16-mc-02636-AMD      Document 24-1 Filed 06/07/18             Page 25 of 51 PageID #:
                                       3700




                                            11

                 (By no means was Sater the only person committing
              crimes at Bayrock; Julius Schwarz, it’s CEO and
              General Counsel, was responsible as well because he
              was aware of Sater’s secret conviction yet hid it.)
                 Supposedly, after taking a fortune out of the firm,
              and arranging for much of it to be placed into trusts for
              his family to remove it from the reach of his victims
              (recall he had yet to be sentenced), Sater severed his
              ownership in and other ties to Bayrock in 2008.
                     C. Sater’s sentencing in 2009
                 Finally, on October 23, 2009, more than a decade
              after his guilty plea and long after his purported
              cooperation and informing had ended, Sater stood
              before federal district judge I. Leo Glasser in courtroom
              8B of the Eastern District of New York to be sentenced.
                 It was over in less than an hour. Though Sater had
              faced nearly 20 years of confinement, Judge Glasser9
              imposed neither confinement nor probation. That, at
              least, was within his discretion.
                  But, though Sater had also faced mandatory
              forfeiture of $80,000,000, Judge Glasser imposed no
              forfeiture, only a fine of $25,000, and though Sater had
              further faced mandatory restitution of $40,000,000,
              Judge Glasser imposed no restitution at all, in sum




              9
                Judge Glasser had years before gained notoriety for sentencing
              “Sammy the Bull” Gravano to 4½ years’ time served as a reward
              for cooperating against John Gotti, suggesting the 19 mob hits
              Gravano had admitted couild be thought of as a public service.
Case 1:16-mc-02636-AMD         Document 24-1 Filed 06/07/18              Page 26 of 51 PageID #:
                                          3701




                                                12

              letting Sater keep virtually all of the millions he’d
              admitted receiving from the criminal scheme10.
                 The government might have been expected to
              complain about its loss of $79,975,000. But that was
              the last thing the government was going to do because
              the government had intentionally fouled the criminal
              information to which Sater had pled, making
              imposition of a forfeiture sentencing order, though
              mandatory, impossible, doing so to “protect” Sater from
              receiving a sentence mandated by Congress11.
                  Those defrauded lenders might have been expected
              to complain, since during his allocution Sater admitted
              that he’d concealed his conviction from them because
              he knew they wouldn’t have lent otherwise.12 After all,
              most of the loans had been written off, many of the
              lenders had become insolvent, and not one would have
              lent a dime had they known the truth, as Sater had
              just admitted. But those complaints were never going
              to happen because even then the lenders still had no
              idea of his conviction, thus had no idea of his


              10
                In his 2004 PSR, of which this Court allowed limited disclosure
              by its order of June 25, 2012 on docket 12-112, the Officer states
              that he did not ask Sater what he had done with the millions of
              dollars of proceeds of the stock fraud he had admitted receiving.
              11
                The sentencing transcript says there was a bargained forefeiture
              order in the cooperation as to a house in Hampton Bays. The
              cooperation agreement does describe such a house but the public
              property records do not show a transfer occurred. In any event,
              whatever the truth, the house would have been worth perhaps
              $420,000, or 1/200th the mandatory forfeiture order.
              12
                   The sentencing transcript is in the Appendix. (App.E at 32).
Case 1:16-mc-02636-AMD      Document 24-1 Filed 06/07/18               Page 27 of 51 PageID #:
                                       3702




                                             13

              sentencing, a situation everyone present in that
              courtroom had every reason to perpetuate forever.13
                  Probation wasn’t going to say anything because five
              years before, in the 2004 PSR they’d prepared when
              Sater was first scheduled to be sentenced, fn.10, the
              officer who wrote it admitted he’d participated with the
              government in helping Sater conceal his conviction
              from Bayrock and his partners at the firm, thus
              facilitating and emboldening Sater’s crimes, including
              the financial institution concealment fraud.
                 Thus, while the four FBI agents present, including
              Leo Taddeo -- who as former head of the E.D.N.Y.
              Russian organized crime squad and Sater’s handler
              was well familiar with the crimes of Sater and his
              father, a Mogilevich crime syndicate boss14 -- might
              have been expected to arrest Sater once they heard him
              confess bank fraud, that was the last thing they were
              going to do because it had been part of the
              government’s deal with him to facilitate, and ignore,
              the crimes, and they would certainly have some
              explaining to do how this all happened under their
              noses.




              13
                One should note Sater’s allocution, where he complains that he
              had been trying to turn his life around but because the NY Times
              had “outed” him he had to leave “his” company (Bayrock) because
              the banks would now no longer lend. Does this sound like someone
              who expected that this would ever become public, or like someone
              who had been promised it would all stay secret forever?
              14
                His father, Michael Sheferofsky, had his own criminal record and
              corresponding secret docket in the E.D.N.Y. see infra.
Case 1:16-mc-02636-AMD         Document 24-1 Filed 06/07/18          Page 28 of 51 PageID #:
                                          3703




                                            14

                 Accordingly, the E.D.N.Y. AUSA’s present, Todd
              Kaminsky and Marshall Miller, who might have been
              expected to ask to adjourn to void Sater’s plea
              agreement and ask his bail be revoked so he could be
              held in custody while they sought to indict him for the
              continuing racketeering he’d just admitted
              (participating in the operation of Bayrock through a
              pattern of bank fraud), weren’t going to do anything
              because they, too, had compromised themselves by that
              arrangement to help him hide his conviction – a
              conviction that was already public property, remember.
                  The AUSA’s had another reason to keep this all
              concealed, or rather 1,200 reasons, namely Sater’s
              victims. Naturally all those victims of Sater’s stock
              fraud, most of them elderly, some Holocaust survivors,
              would have been expected to raise hell about his
              minimal sentence and the nearly 15 years it took to get
              there, and would have been expected to sue for an order
              of restitution15. After all, at interest that $40,000,000
              of mandatory restitution Sater should have been
              sentenced to would have grown to $120,000,000 by
              2009.
                 Moreover, his liability to his victims in civil RICO
              wasn’t actionable until his conviction became final on
              entry of a judgment and commitment order16, and by
              2009 with accretion, treble damages, and attorneys’
              fees, that liability likely exceeded $500,000,000.



              15
                Victims may petition for restitution if denied same, or denied
              sufficient amounts thereof, at sentencing. 18 U.S.C. § 3771(d).
              16
                   18 U.S.C. § 1964(d).
Case 1:16-mc-02636-AMD         Document 24-1 Filed 06/07/18             Page 29 of 51 PageID #:
                                          3704




                                              15

                  So indeed those victims might have been expected
              to make themselves heard vociferously, but that, too,
              was never going to happen because, like the banks, the
              victims had never been told of Sater’s sentencing (or,
              for that matter, even the existence of his case).
                  However, unlike the banks, the victims were the
              express beneficiaries of a statutory right not only to be
              told of it, but to be invited to participate in it17, and it
              was the duty of the very same AUSA’s, Kaminksy and
              Miller, to make that happen. And rather inevitably,
              since there would have been little point in their saving
              Sater from tens of millions in mandatory forfeiture only
              to have him ordered to pay tens of millions in
              mandatory restitution, those AUSA’s repudiated their
              duty and completely ignored the victims, not even
              bothering to find them beyond those on lists they
              already had from the NASD; that this was a
              repudiation of their duty there can be no doubt because
              AUSA Miller was at the time the E.D.N.Y. victims’
              rights compliance officer and so had to know perfectly
              well what his duties were to the victims – and to the
              law.18
                 Mr. Miller is now the fourth ranking official in the
              Department of Justice, Principal Deputy Assistant
              Attorney General for the Criminal Division to Leslie
              Caldwell, Assistant Attorney General for the Criminal
              Division, the third ranking official. Ordinarily one

              17
                   18 U.S.C. § 3771(a).
              18
                Remember, their duty is to seek out the victims, inform them of
              their rights, and see to it that they were treated with fairness and
              dignity. Id. Intentionally failing to notify them of an open court
              (public) sentencing proceeding is a serious transgression.
Case 1:16-mc-02636-AMD      Document 24-1 Filed 06/07/18               Page 30 of 51 PageID #:
                                       3705




                                             16

              might wonder whether Ms. Caldwell knows that her
              assistant participated in this dishonor of the victims,
              and what that augurs for his fealty to victims’ rights,
              rights of court access, and his respect for Congressional
              mandate in his current position, but this case long ago
              departed from the ordinary, and there is no need to
              wonder whether she knows, because she does.
                 Of that there is no doubt, because Ms. Caldwell,
              who at the time of Sater’s plea bargain and conviction
              was herself an E.D.N.Y. AUSA and at the time of his
              2009 sentencing was head of Morgan Lewis’s criminal
              defense practice, was also right there in court at that
              sentencing, appearing as Sater’s lead defense counsel.
                 One presumes Ms. Caldwell wouldn’t have wanted
              this to see the light of day if, as seems quite likely, the
              fees Sater was paying her firm had to be traceable to
              money he’d taken from Bayrock19, thus further
              traceable to the financing he’d procured by fraud, or to
              money he’d kept from his earlier racketeering and had
              been spared forfeiting; either way the money was
              proceeds of specified unlawful activity.
                 (That she knew their provenance is without doubt
              as well, because in March 2010, barely six months after
              his sentencing, Sater gave deposition testimony in
              which he said that Ms. Caldwell had advised him that
              he should refuse to testify whether he’d concealed any
              convictions while at Bayrock because if he admitted he



              19
                His 2004 PSR says Sater told his probation officer that he had a
              negative net worth, and the only source of income anyone is aware
              of over the ensuing years was from Bayrock.
Case 1:16-mc-02636-AMD       Document 24-1 Filed 06/07/18               Page 31 of 51 PageID #:
                                        3706




                                             17

              had he’d be exposing himself to criminal liability20;
              unless she was corruptly advising him to take the fifth
              and so was guilty of obstruction, Ms. Caldwell was
              obviously well aware that her client had committed
              hundreds of millions of dollars of concealment fraud at
              Bayrock, just as he’d allocated to at his sentencing.)
                  And finally, as to Ms. Caldwell, we must presume
              that she normally did not allow her cooperator clients
              to admit at their sentencing allocutions that they had
              used the secrecy of their dockets to perpetrate bank
              fraud while cooperating unless she knew in advance
              that no one would be surprised and no one would care.
                 And that suggests the question, Why let him admit
              it at all? If he’s in open court, admitting his
              participation in a billion dollars of bank fraud, doesn’t
              he risk having the banks go after him, or Bayrock?
                 But then of course he wasn’t in open court. Even
              though the Second Circuit has held that there is a first



              20
                “On the advice of counsel, I am not going to answer that question
              as I don’t have to incriminate myself…On the advice of counsel, I
              won’t answer past what I have already answered…My counsel is
              Leslie Caldwell from Morgan Lewis.”
              “Did she know you would be asked this question?”
              “Yes.”
              “Did she advise you not to answer this question?”
              “Yes.”
              “The grounds being again?”
              “Not to incriminate myself…”
Case 1:16-mc-02636-AMD         Document 24-1 Filed 06/07/18             Page 32 of 51 PageID #:
                                          3707




                                                18

              amendment public right of access to sentencings21, and
              other laws and rules provide the same22, nothing
              anywhere in the (now public) Sater docket shows there
              was any unsealing of the case before sentencing; quite
              the contrary. So surely, albeit illegally, his sentencing
              was not being held in public.
                 (Of course if it were in open court, the fact that the
              transcript shows his real name used throughout would
              eliminate any chance of his cooperation or his
              conviction remaining secret, as both were disclosed.)
                  Finally, there is the judge presiding (Glasser, J.).
              He, too, had a duty to the victims, or rather in his case
              to ensure that the government discharged its duty to
              them23, and the transcript shows he did nothing about
              victims’ rights whatsoever. At a minimum, this is
              consistent with a sealed, rather than public, sentencing
              proceeding, because even if illegally sealed it might at
              least explain why the victims hadn’t been told of it24.
              IV.       Petitioner Oberlander Discovers the
                        Crimes and the Cover-Up and Sues to Stop
                        Them
                 Petitioner Oberlander is a New York attorney who
              represents minority partners in Bayrock, one of them
              Bayrock’s former Director of Finance, and also

              21
                   U.S. v. Alcantara, 396 F.3d 189 (2d. Cir. 2005).
              22
                See, 18 U.S.C. § 3553(c) (court at time of sentencing shall state
              “in open court” its reasons for imposing the particular sentence).
              23
                   18 U.S.C. § 3771(b)(1).
              24
                   18 U.S.C. § 3771(a)(2).
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18       Page 33 of 51 PageID #:
                                     3708




                                        19

              represents victims of Sater’s 1990s stock fraud. These
              partners engaged petitioner on suspicion they had been
              defrauded by other partners, including Sater and
              Schwarz. Subsequently, they directed him to sue.
                  When petitioner began drafting a RICO complaint
              in 2009, publicly available information showed Sater
              was “connected to” organized crime. For example, a
              1998 Business Week article, and a 2007 New York
              Times article, discussed Sater’s involvement in the
              aforementioned stock fraud. And it was widely believed
              that Sater had been only an “unindicted co-conspirator”
              who avoided prosecution by cooperating; he was indeed
              listed as an unindicted co-conspirator in the public
              Coppa docket.
                 There was, however, information from which one
              could infer Sater had been prosecuted. For example, a
              co-conspirator, Klotsman had told the Times Sater had
              pled guilty. And the Times quoted Sater’s lawyer, who
              didn’t deny it, but just challenged anyone to find it.
                 On March 1, 2010, these suspicions were confirmed
              when unexpectedly, and without solicitation, petitioner
              received documents from a whistleblower, a former
              employee of Bayrock, who found them on the Bayrock
              email servers during his prior work there.
                 The documents were Sater’s criminal complaint,
              information, proffer, and cooperation agreement, all
              from 1998, and a PSR from 2004, all from his secret
              case, 98-CR-1101 E.D.N.Y., identifying Sater by his
              true name, confirming he had pled guilty to
              racketeering, and had been scheduled for sentencing in
              2004.
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18        Page 34 of 51 PageID #:
                                     3709




                                        20

                  Petitioner, concluding at least $750,000,000 of the
              firm’s capital, had been procured with the fraudulent
              concealment of Sater’s conviction, and that the firm’s
              customers were being defrauded daily by sales of
              condominiums pursuant to false and misleading
              offerings, acted quickly.
                 On May 10, 2010, petitioner filed a civil RICO
              complaint, 10-CV-3959, S.D.N.Y., charging Sater and
              others with operating the firm through a pattern of
              crime, including excerpts from the documents. Within
              a day Courthouse News had the story and a copy of the
              complaint with the excerpts online, available for
              download. Additionally, upon receipt, the firm’s general
              counsel disseminated the complaint to several named
              defendants and attorneys on May 12, 2010.
              V. Procedural History I
                 On May 18, Sater obtained an ex parte TRO from
              the same judge who had secretly tried him, (Glasser, J.,
              E.D.N.Y.), enjoining dissemination of the documents
              and ordering a hearing to ascertain how petitioner got
              them, making petitioner a respondent in his secret
              criminal case, U.S. v. Sater, (recall he had been
              sentenced only a few months before).
                 On June 14, the second of four days of hearings,
              petitioner asked the court reveal any order purporting
              to seal anything, or bind him. Judge Glasser
              admitted “there is no formal order” and he
              couldn’t “find any order signed by me, which
              directed that this file be sealed,” and there was no
              indication in the first filing “or in any subsequent
              document that an application was made or
              request was made in that document to seal that
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18        Page 35 of 51 PageID #:
                                     3710




                                        21

              file.” He further emphasized that there were no
              orders ever issued that bound petitioner and there
              were no sealing orders ever issued. (App.M at 85 et
              seq.).
                 On July 20, Judge Glasser issued a permanent
              injunction prohibiting dissemination of the PSR and
              stated that while one could infer that the former
              Bayrock employee who gave petitioner the documents
              “may” have stolen them he still wondered “[w]hat order
              of the Court was violated by that. Sater testified
              briefly, but neither he nor other witnesses spoke of
              any threat of harm they had encountered or had
              reason to believe they would encounter if anyone
              knew of Sater’s role in the stock fraud, nor did
              anyone introduce non-parol evidence of it.
                  Judge Glasser issued TRO’s on the other
              documents, claiming to have found a risk of harm to
              Sater, but refused to state what that risk was or where
              he had obtained the evidence of it, and never put any of
              it on the record (we now know, because he had none).
                 Petitioner appealed, but it was delayed for months
              because Judge Glasser refused to send the notices to
              the Second Circuit, keeping them in chambers.
                 Finally, on their transmittal, the government moved
              to seal the appeal and, prior to any hearings or
              submissions, the Second Circuit issued sua sponte
              ex parte gag orders barring petitioner and his
              clients from revealing any documents filed in
              related cases in the Eastern or Southern Districts
              or the Second Circuit and expressly barred them
              from telling Congress what they had learned.
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18        Page 36 of 51 PageID #:
                                     3711




                                        22

                 At argument on the government’s motion to seal,
              AUSA Kaminsky said Sater’s criminal case had
              been secret since inception, (App.AL at 207 et seq.).
                 On questioning by the panel, Kaminsky said he
              believed there was a serious risk of harm to Sater if
              any of this got public.
                 Petitioner argued that none of these facts were in
              the record, so were only argument, and that the First
              Amendment required the appellate docket be public.
              The court conceded that media organizations could not
              have been enjoined had they come into possession of
              the documents at issue, and such appellate proceedings
              would be open, but petitioners could be gagged because
              they’re not the media:
                 Judge Cabranes asked for assurance from the
              government that: “[W]e are not talking about
              preventing a news organization from publishing a
              matter of public concern or impinging on editorial
              discretion.”
                  Judge Pooler responded to petitioner’s First
              Amendment arguments with: “We are not dealing here
              with prior restraint of the press or media. That’s what
              the Pentagon Papers case was about. [Newspapers
              have a special charge in publishing information for
              citizens. [Petitioner] doesn’t have any charge in making
              this information available to citizens.”
                 The court then issued a summary order,
              maintaining the appellate case under blanket seal,
              noting “In light of the serious, indeed grave,
              concerns expressed by the United States regarding
              the possible consequences of unsealing these
              documents, and the absence of any sufficiently
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18       Page 37 of 51 PageID #:
                                     3712




                                        23

              persuasive countervailing           considerations
              expressed by [petitioner]...”
                                      *****
                  The importance of the last pages to the maintenance
              of a court system built upon fundamental fairness and
              due process cannot be over-emphasized. Respectfully
              we ask the Court to consider the following:
                 • Judge Glasser issued a permanent injunction on
                   dissemination without regard to the norms of
                   procedural and substantive due process.
                 • AUSA Kaminsky sat through four days of
                   district court hearings without introducing
                   evidence or asking a witness about risk of
                   harm…
                 • The Second Circuit blanket sealed an entire
                   appeal, to this day maintaining hundreds of
                   filings under seal, based on a record with no
                   evidence of any risk or reason to believe there
                   might be a risk based solely on Kaminsky’s
                   beliefs, which petitioner wasn’t allowed to
                   contest because it wasn’t done at a hearing.
                 • The government had made the conviction
                   public ten years before, by the press release,
                   but Kaminsky was there perpetrating fraud
                   on the institution of the court by lying,
                   saying the government had not (petitioner
                   hadn’t yet found the press release).
                 • When petitioner found the press release after
                   the hearing, and confronted Kaminsky with it,
                   the government asked to unseal Sater’s docket
Case 1:16-mc-02636-AMD   Document 24-1 Filed 06/07/18      Page 38 of 51 PageID #:
                                    3713




                                      24

                   by letter which admitted that the government
                   had not had any evidence for over ten years that
                   there had ever been any risk of harm or any
                   impediment to recruiting cooperators, which
                   meant Kaminsky knew he had no factual
                   basis to be opining and arguing before the
                   Second Circuit that there was grave,
                   imminent risk and cooperator recruiting
                   might be impaired. (App.V at 130).
                • Kaminsky had been at Sater’s sentencing a
                  year earlier and had heard him admit the
                  bank fraud he perpetrated at Bayrock, and
                  was in possession of a copy of petitioner’s
                  May 10, 2010 RICO complaint and knew it
                  exposed the massive related crimes at
                  Bayrock, yet if petitioner had not found the
                  press release Kaminsky would have
                  prevailed in arguing that Sater’s hundreds
                  of millions of concealment frauds could
                  never be revealed because there might be a
                  threat to him. Forgive us for thinking the
                  threat would be a lot more to Kaminsky et
                  al. for allowing Sater to commit the frauds
                  at Bayrock.
                • Finally, the government, Sater, the court,
                  all of them, knew there was a public Coppa
                  file in Lee Summit Archives for ten years
                  holding documents showing the public
                  revelation of Sater’s cooperation, not just
                  conviction. Why weren’t they admitting it?
                  Presumably, they knew he wouldn’t find it,
                  because when petitioner began requesting it
                  from Lee in November 2010, before the
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18        Page 39 of 51 PageID #:
                                     3714




                                        25

                    Second Circuit hearing, he was told, and
                    would be told for years, that it had been
                    requested by, and then disappeared in, the
                    E.D.N.Y., while the E.D.N.Y. professed to
                    have no idea how they had misplaced it,
                    maintaining this lie for two years until it
                    turned up one day after Sater’s docket had
                    gone public.
              VI.   Procedural History II
                  The Second Circuit eventually upheld the injunction
              on the PSR, and this Court denied cert, but not before
              granting petitioner’s motion, see docket 12-112, to be
              allowed to disclose the contents of the PSR which he
              felt showed government and judicial misconduct.
                 While the initial disclosure was, as ordered, without
              use of Sater’s name, the press interest even before this
              court’s order granting the motion had motivated
              several persons, most prominently The Miami Herald
              and petitioner Palmer, a private citizen, to join in the
              attempt to unseal Sater’s case, and after an accident in
              the E.D.N.Y. clerk’s office that exposed the entire
              docket online for a week, Judge Glasser ruled he had
              no choice but to unseal it permanently.
                 Judge Glasser then proceeded to hold hearings on
              what documents on the docket would be unsealed and
              what would remain sealed, or “sealed,” and those
              hearings concluded in late 2012.
                 At the beginning of those hearings, Judge Glasser
              ordered everyone but Sater and his counsel and the
              government removed from the courtroom, including
              movants (petitioners here), and announced that we
              petitioners were prohibited from introducing any
Case 1:16-mc-02636-AMD     Document 24-1 Filed 06/07/18         Page 40 of 51 PageID #:
                                      3715




                                         26

              evidence into the unsealing proceedings, that he would
              rule based on his own knowledge of the case and what
              the government gave him and what Sater gave him,
              but would take evidence from no one else, even though
              petitioners here had authored almost 75% of all the
              documents in question during the prior years of
              litigation and so already had access to them anyway.
                 Then, when petitioners sought to introduce evidence
              by document, through motion for judicial notice, Judge
              Glasser threatened quasi-criminal sanctions for
              “vexatious litigation” and held the submissions out of
              order.
                 Petitioners then appealed from the unsealing order,
              as noted in the front of this petition, on the ground that
              the entire proceeding had been structurally defective
              because the failure to allow us to present evidence that
              there never had been any risk and that it had all been
              public for years anyway was Fifth Amendment
              structural error.
                  The Second Circuit in a summary order upheld
              Judge Glasser, held that even though we had not been
              permitted to introduce evidence we had “made our
              views known” [sic], whatever that means, and further
              held that even though Judge Glasser had made no
              record findings of risk (or anything else) capable of
              appellate review, merely listing “risk” conclusorily as
              his reason for each closure maintained, that because of
              the “gravity” of Sater’s cooperation the binding
              precedent that there must be such express, reviewable
              evidentiary findings need not apply in this special case.
                 Petitioners seek cert therefrom.
Case 1:16-mc-02636-AMD     Document 24-1 Filed 06/07/18          Page 41 of 51 PageID #:
                                      3716




                                          27

              VII.   Procedural History II
                 In the interest of expedience, petitioners will
              accelerate the remainder of this petition to present the
              points in bullet point list format rather than text.
                 • On March 19, 2013, a few days before
                   petitioner’s prior petition was due to be
                   conferenced, the Solicitor General forwarded a
                   “sealed,” secret, ex parte order of Judge
                   Glasser’s (App.AI at 184) to this Court which we
                   had never seen and which was never docketed
                   and which contained the statement (this is now
                   a matter of public knowledge) that Sater had
                   been sentenced in public, in other words in open
                   court.
                     In the prior pages, petitioners explained that it
                     was inconceivable that it was taking place in
                     open court because Sater was admitting a billion
                     dollars of fraud while cooperating. Petitioners
                     also explained that if in fact it was open court,
                     then that meant that Judge Glasser, Kaminsky,
                     and Miller had willfully and intentionally defied
                     their statutory obligations to the victims. Yet
                     there that order is.
                     Regrettably, it appears that that much of it was
                     a fraud directed at this Court, if so the first time
                     in known history that a sitting federal judge
                     perpetrated a fraud targeted at this very Court.
                     Equally if not more regrettable is that the order
                     also contains a ruling that one Danny Persico
                     had threatened the life of Sater in an attack on
                     Lauria soon after the unsealings began claiming
                     that he only then knew who had informed on
Case 1:16-mc-02636-AMD       Document 24-1 Filed 06/07/18               Page 42 of 51 PageID #:
                                        3717




                                              28

                      him. Persico is a member of organized crime and
                      was a co-conspirator of Sater and Lauria’s in the
                      stock fraud. But Persico is more than that. He is
                      a childhood friend of Lauria’s, and Lauria
                      admits in his own book that he himself told
                      Persico he informed on him and that while he
                      seemed to take it well, the FBI told him later
                      (this is 2002, remember) that Persico had been
                      making threats against him, a story he repeated
                      in his (Lauria’s) own sentencing allocution
                      before Judge Glasser in 2004.
                      Ordinarily, the ramifications of a sitting judge
                      participating in the fabrication of evidence like
                      this to justify the concealment he was
                      responsible for would be unthinkable, but on
                      May 15, 2011, Sater’s lawyers wrote petitioner
                      through counsel warning that they had an
                      agreement with Judge Glasser that he would not
                      take up any unsealing motion we made and
                      would ignore our arguments if he did25. Both
                      happened as they predicted, as noted already in
                      the refusal to allow us to admit evidence and, as
                      we mention in closing, with the ex parte, secret
                      withdrawal of the government’s March 17, 2011
                      letter motion to unseal, kept from us for six
                      months.




              25
                 “Even if Judge Glasser decides to hold a hearing or oral
              argument to determine whether to unseal specific docket entries
              of Doe’s criminal proceeding, he will do so without considering your
              arguments or appeals. If you believe you are driving the unsealing
              issue, you are mistaken.”
Case 1:16-mc-02636-AMD      Document 24-1 Filed 06/07/18               Page 43 of 51 PageID #:
                                       3718




                                             29

                      And in view of the several ex parte merits
                      conferences Judge Glasser ordered with the
                      government and counsel for Sater, to petitioner’s
                      exclusions, and without petitioner’s knowledge,
                      all shown on the now unsealed docket of 98-CR-
                      1101, who wouldn’t believe this is all collusive,
                      at best.26
                   • Under no circumstances is this petition a claim
                     of error, and importantly we ask this Court to
                     understand that this problem of illegally secret
                     cooperator cases and cover-ups that make the
                     Bulger case, at least in terms of dollars, look like
                     an amateur operation is not limited to this one
                     case.
                   • At approximately the same time that Sater was
                     pleading guilty, three co-conspirators, Richard
                     Appel, Sal Romano, and Myron Gushlak, were
                     engaged in pump-and-dump fraud of their own,
                     involving a penny stock controlled by Gushlak.
                     As with Sater, they bribed brokers to push the



              26
                 A Status Conference as to Felix Sater was held on 1/10/2012
              before Senior Judge I. Leo Glasser: AUSA Todd Kaminsky and
              Evan Norris appeared on behalf of the Government. Michael Beys
              and Jason Berland appeared on behalf of John Doe. The Court
              directed the government and John Doe to provide a detailed
              chronological account with transcripts, of what the core issues
              involving this case and how it evolved into a First Amendment
              issue. The Court will issue an Order on Notice to Mr. Lerner
              directing the parties to brief the issues before the Court. The
              parties agreed to submit a Scheduling Order to the Court to be “So
              Ordered.” (Court Reporter Charleane Heading.) (Francis, Ogoro)
              (Entered: 01110/2012)
Case 1:16-mc-02636-AMD   Document 24-1 Filed 06/07/18        Page 44 of 51 PageID #:
                                    3719




                                       30

                   stock, in this case including brokers at a firm
                   called Montrose.
                   Eventually all three were caught and pled out
                   and became cooperators. That’s not the
                   interesting part. What’s interesting is that they,
                   each of them, openly admitted and stipulated
                   that they were co-conspirators in the scheme.
                   Accordingly, both for Pinkerton and restitution
                   purposes they had to have exactly the same set
                   of victims to whom they were liable.
                   When Romano came to be sentenced, the
                   government told the E.D.N.Y. judge, Carol
                   Amon, now chief judge of that district, that
                   Romano had been a great cooperator and that
                   sadly she could not order Romano to pay
                   restitution because the government simply had
                   no idea who they were. The government then
                   asked her to issue a finding to that effect, which
                   she did, thus for all practical purposes ending
                   any ability to get Romano to pay restitution.
                   When Appel came to be sentenced, surprisingly
                   enough all of a sudden the government knew
                   who the victims were, and sought and obtained
                   a $3,000,000 restitution order.
                   But when Gushlak came up for sentencing, his
                   restitution order was for $17,000,000, on top of
                   a $25,000,000 find. Why?
                   Because, as to restitution, the sentencing judge
                   held that as Gushlak, Roman, and Appel had co-
                   equal liability, and the government’s expert for
                   Gushlak’s trial had calculated $17,000,000 as
                   the aggregate loss for all of them, including all
Case 1:16-mc-02636-AMD   Document 24-1 Filed 06/07/18          Page 45 of 51 PageID #:
                                    3720




                                        31

                   the persons Appel had defrauded at Montrose to
                   further the scheme even though Gushlak had
                   never heard of them, Gushlak had to pay for all
                   of it.
                   Of course this is correct, but that’s not the point.
                   The point is, the victim loss sheets, as the
                   dockets reveal, were in the possession of FINRA
                   (blue sheets), and it is not possible that they
                   didn’t exist and so the victims couldn’t be found
                   for “wonderful” cooperator Romano but could be
                   found for the other two.
                   What’s even more impressive is that the reason
                   Gushlak was fined $25,000,000 and sentenced to
                   may years’ incarceration was that the judge
                   denied him acceptance credit. Why? Because the
                   government showed the judge that, just like
                   Sater, Gushlak had used his secrecy to defraud
                   investors, lenders and partners, just as Sater
                   admitted doing at Bayrock.
                   It’s very fascinating that what sends one man to
                   prison becomes something that is not to be
                   spoken about as to Sater, but petitioners will
                   speak, for what it is, more evidence that Sater,
                   like untold others, is benefiting from a covert,
                   and corrupt, promise to keep him “safe.”
                • Finally we bring up two cases. One, Sheferofsky,
                  is a criminal case in the E.D.N.Y. where the
                  defendant admitted to running a scheme of
                  attempted extortion and extortion for ten years.
                  His entire docket was hidden for six years, with
                  no evidence of formality observed, but
                  importantly, when he got sentenced, the
Case 1:16-mc-02636-AMD   Document 24-1 Filed 06/07/18         Page 46 of 51 PageID #:
                                    3721




                                       32

                   government said there need be no restitution
                   because the victims were dead, criminals, or
                   unknown. The government had to know
                   perfectly well that the statute provides that
                   restitution is awardable to the representative of
                   a victim, too. It’s probably not irrelevant then to
                   note that Sheferofsky is, or was, Sater’s father,
                   and the dates on the closures of his docket
                   match the concealment of Sater’s.
                • The other is United States v. Shereshevsky (no
                  relation), SDNY Docket No. 94-cr-248. On May
                  5, 1994, Shereshevsky was arraigned for bank
                  fraud, pled not guilty and was released on bail.
                  That was what the public docket reflected until,
                  June 26, 2002. The docket reflects that on that
                  date it was “entered” that eight years earlier, on
                  May 5, 1994 (viz. the same date as the docketed
                  not-guilty plea) Shereshevsky had actually pled
                  guilty to bank fraud. The Southern District
                  deliberately allowed false information to remain
                  on the public docket for eight years, a fraud on
                  the public.
                   Presumably, Shereshevsky was given the benefit
                   of secrecy because he was a cooperator, and
                   apparently got leniency – time served, two years
                   supervised release, and a restitution order off
                   $39,000. What did Shereshevsky do with himself
                   while “cooperating” with the government? He
                   perpetrated a multi-hundred million dollar
                   WexTrust Ponzi scheme.
                   One of the judges who, apparently, actively
                   falsified his docket, Michael Mukasey, went on
                   to become the Attorney General. On September
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18         Page 47 of 51 PageID #:
                                     3722




                                         33

                    24, 2001, he issued a “speedy trial” ruling on the
                    docket, to keep up the false appearance that the
                    defendant had actually pled not guilty. (App. F
                    at 42).
                   REASONS FOR GRANTING THE WRIT
              I.    The Integrity of the Federal Court System
                    Depends on This Court’s Confirming That
                    Lower Courts May no More Defy Binding
                    Precedent or Wrongfully Infringe Upon
                    Fundamental Rights Than They May Defy
                    Mandatory Sentencing or Similar Statutes
                 The factual history of this case is complex, but the
              legal principles are not. Simply put, the Second Circuit
              courts have seceded from the (juridical) union to form
              their own state where the cooperator exception they
              have invented of whole cloth trumps everything else,
              including the enumerated and unenumerated
              fundamental rights of liberty. And that is something
              they cannot be permitted to do.
                 This case is not about judicial error. Indeed, taking
              the word “error” literally, there may well be none.
              What there is here, instead, is judicial defiance.
                 When a lower court decision conflicts with this
              court’s binding precedent, ordinarily that’s “mere” error
              and this court is not likely to grant a writ. But when
              the conflict is so outside the norm of judicial decision-
              making that it requires intervention and review by this
              court, that’s cert-worthy. And where, as in this case as
              the record plainly shows, that great conflict, that great
              deviation from the norm, is an intentional, blatant
              disregard for that precedent then, petitioners submit,
              this Court is compelled to act.
Case 1:16-mc-02636-AMD         Document 24-1 Filed 06/07/18                Page 48 of 51 PageID #:
                                          3723




                                                34

              II.       A lower federal court’s core “inherent
                        power” does not include the power to
                        refuse to impose the lawful sentences
                        Congress mandates, including restitution

                 Of course, the lower federal courts have inherent
              powers. But, save for a “core” subset, have long been
              understood to be subject to Congressional override.27
              Even that “core” exception proves petitioner’s point
              here, because while Congress cannot interfere with the
              ability of a lower court to decide a particular case, that
              limitation does not apply at all to the authority of
              Congress to set minimum sentences.
                 This Court held precisely, and unanimously, so a
              century ago in the Killits case, Ex Parte United States,
              242 U.S. 27 (1916): When a federal court refuses to

              27
                The Fourth Circuit explained in ACLU v. Holder, 673 F.3d 245
              (4th Cir. 2011) [citations and explanations omitted, emph. add.]:
                    The inherent power of…lower federal courts falls into
                    three…categories…[F]irst…core Article III power…the
                    ability of a lower federal court to decide a case over which
                    it has jurisdiction…once Congress has established lower
                    federal courts and provided jurisdiction over a given case,
                    Congress may not interfere with such courts by dictating
                    the result in a particular case…[S]econd…powers
                    “necessary to the exercise of all others”…these…are
                    deemed necessary to protect the efficient and orderly
                    administration of justice and…command respect for the
                    court’s orders, judgments, procedures, and
                    authority”…These…are subject to congressional
                    regulation…[T]hird…”those reasonably useful to achieve
                    justice”…Examples…”the power of a district court to
                    appoint an auditor to aid in litigation involving a complex
                    commercial matter”…Such are subject to congressional
                    regulation…
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18         Page 49 of 51 PageID #:
                                     3724




                                         35

              impose a mandatory sentence, it violates the law and
              operates illegally. If there were any doubt that this
              applies to a mandatory order of restitution, this Court
              put that to rest in Dolan v. United States, 103 S.Ct.
              2553 (2010), noting that when Congress said in the
              restitution statute that such an order must be imposed
              at sentencing notwithstanding any other provision of
              law, 18 U.S.C. § 3663A, Congress meant it.
                 What about cooperator safety? Every filing by
              respondent Sater and the government solemnly intones
              that warning, arguing that the courts must hide all
              this to keep Sater safe, even if, regrettably, he gets to
              keep all the money he stole.
                 The reply must be, Where in Article III are federal
              courts vested with police powers? Nowhere. And,
              petitioners aver it to be common knowledge that, were
              there even such a risk, the Federal Witness Protection
              program has never lost a participant.
                  And frankly, the mere idea is simply nonsensical
              that a felon like Felix Sater can assert a subjective
              fear, decline witness protection, and as a result then be
              allowed to evade restitution, keep the secret of his
              conviction, and commit concealment frauds, again by
              using that secrecy, and have the courts assert some
              inherent power to protect him by enjoining even his
              victims, those like petitioner’s clients, who found out
              and would stop it.
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18        Page 50 of 51 PageID #:
                                     3725




                                        36

              III.   Lower courts’ “inherent power” cannot
                     include the power to defy binding
                     precedent; moreover, the issuance of a
                     purported non-precedential “summary
                     order” by a federal appeals court, as the
                     Second Circuit issuance here, is
                     unconstitutional
                 An elegant argument proving these points is in
              Anastasoff v. United States, 223 F.3d 898, vacated en
              banc, 215 F.3d 1024 (8th Cir. 2000) wherein a panel of
              the Eighth Circuit, later reversed en banc held that a
              federal appellate court’s issuance of non-precedential
              decisions (summary orders) is unconstitutional.
              Petitioners adopt it in its entirety.
              IV.    Lower courts’ “inherent power” cannot
                     include the power to wrongfully infringe
                     upon enumerated or unenumerated rights
                  This, of all, is completely self-evident. And
              therefore, petitioners submit respectfully, it was wrong
              to deny them due process for all these years, both
              procedural and, to the extent extant and not covered by
              first amendment or other provisions, unenumerated
              and thus substantive.
                  But as wrong as that was, and remains, it was even
              more wrong to do that to the confederates of these
              criminals, clueless as to the Brady violations that must
              be rampant with undisclosed deals, and above all else
              to the victims of these criminals, who have no voice
              save that which the courts and the government are
              tasked to give them. A mighty poor voice it is, indeed.
Case 1:16-mc-02636-AMD    Document 24-1 Filed 06/07/18          Page 51 of 51 PageID #:
                                     3726




                                         37

                                 CONCLUSION
                 For all the foregoing reasons, it is most respectfully
              requested that this petition for a writ of certiorari to
              the United States Court of Appeals for the Second
              Circuit be GRANTED.
              Dated: November 3, 2014
                                      Respectfully submitted,
                                      Richard E. Lerner
                                         Counsel of Record
                                      THE LAW OFFICE OF
                                        RICHARD E. LERNER, P.C.
                                      1375 Broadway, 3rd Floor
                                      New York, NY 10018
                                      917.584.4864
                                      347.824.2006 Fax
                                      richardlerner@msn.com

                                      Counsel for Petitioners
